                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
KATHLEEN EASTMAN, et al.,                         :
                                                  :
                     Plaintiffs,                  :
                                                  :
                     v.                           :      No. 21-2248 (MSG)
                                                  :
CITY OF PHILADELPHIA,                             :
                                                  :
                     Defendant.                   :
                                                  :

                                          ORDER

       AND NOW, this _________ day of __________________, 2023 upon consideration of the

Motion for Summary Judgment filed on behalf of Defendants City of Philadelphia and Plaintiffs’

response thereto, it is HEREBY ORDERED that the Motion is GRANTED.


                                                  BY THE COURT:




                                                  Mitchell S. Goldberg, J.
